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                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND
BARRETTE OUTDOOR LIVING, INC.
                                                        *
      Plaintiff,
                                                        *
      v.                                                          Case No. 19-cv-03027-SAG
                                                        *
IRON WORLD MANUFACTURING, LLC,

      Defendant.                                        *

                                 MOTION FOR ADMISSION PRO HAC VICE

            I, Jordan F. Dunham                    , am a member in good standing of the bar of this

Court. I am moving the admission of David J. Wolfsohn

to appear pro hac vice in this case as counsel for Plaintiff, Barrette Outdoor Living, Inc.                     .


            We certify that:

            1. The proposed admittee is not a member of the Maryland bar and does not maintain
               any law office in Maryland

            2. The proposed admittee is a member in good standing of the bars of the following
               State Courts and/or United States Courts:

                      State Court & Date of Admission           U.S. Court & Date of Admission
               Pennsylvania, 5/23/1990                      Eastern District of PA, 4/22/1992
                                                            Western District of PA, 4/3/2017
                                                            Court of Appeals for the 11th Circuit, 7/30/2014

                                                            Court of Appeals for the 3rd Circuit, 12/21/1993



            3. During the twelve months immediately preceding this motion, the proposed admittee
               has been admitted pro hac vice in this Court _______
                                                            0       time(s).

            4. The proposed admittee has never been disbarred, suspended, or denied admission to
               practice law in any jurisdiction. (NOTE: If the proposed admittee has been
               disbarred, suspended, or denied admission to practice law in any jurisdiction, then
               he/she must submit a statement fully explaining all relevant facts.)

            5. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
               Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
               Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
               understands he/she shall be subject to the disciplinary jurisdiction of this Court.

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            6. The proposed admittee understands admission pro hac vice is for this case only and
               does not constitute formal admission to the bar of this Court.

            7. Either the undersigned movant or _________________________________________,
               is also a member of the bar of this Court in good standing, and will serve as co-
               counsel in these proceedings.

            8. The $100.00 fee for admission pro hac vice accompanies this motion.

            9. We hereby certify under penalties of perjury that the foregoing statements are true
               and correct.


MOVANT                                                   PROPOSED ADMITTEE
/s/ Jordan F. Dunham                                      /s/ David J. Wolfsohn
Signature                                                Signature
Jordan F. Dunham (Federal Bar No. 20876)                 David J. Wolfsohn
Printed name and bar number                              Printed name
Duane Morris LLP                                         Duane Morris LLP
Office name                                              Office name

100 International Dr., #700, Baltimore, MD 21202         30 S. 17th Street, Philadelphia, PA 19103
Address                                                  Address
410-949-2956                                             215-979-1866/(c) 215-300-5020
Telephone number                                         Telephone number
312-277-5307                                             215-979-1020
Fax Number                                               Fax Number
JFDunham@duanemorris.com                                 djwolfsohn@duanemorris.com
Email Address                                            Email Address




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 9th day of June, 2020, a true and correct copy of the

foregoing Motion for Admission Pro Hac Vice was served via the Court’s electronic filing system

on the following:


              Ruy McEwan Garcia-Zamor
              Garcia-Zamor Intellectual Property Law, LLC
              12960 Linden Church Rd
              Clarksville, MD 21029-1123
              Phone: (410) 531-9853
              Fax: (410) 531-9854
              Email: ruy@garcia-zamor.com

              Attorneys for Defendant


                                           /s/ Jordan F. Dunham
                                           Jordan F. Dunham
